UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
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ULTIMA SERVICES CORPORATION,                                                     :
                                                                                 :
         Plaintiff,                                                              :
                                                                                 :
                           -against-                                             :
                                                                                 :
                                                                                 : No.2:20-cv-00041
                                                                                 : DCLC-CRW
U.S. DEPARTMENT OF AGRICULTURE,                                                  :
U.S. SMALL BUSINESS ADMINISTRATION,                                              :
SECRETARY OF AGRICULTURE, and                                                    :
ADMINISTRATOR OF THE SMALL BUSINESS                                              :
ADMINISTRATION,                                                                  :
                                                                                 :
         Defendants.                                                             :
                                                                                 :
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     PLAINTIFF’S BRIEF IN SUPPORT OF ITS MOTION TO EXCLUDE
        TESTIMOMY OF DEFENDANTS’ EXPERT DANIEL CHOW
        Plaintiff submits this memorandum in support of its motion to exclude

testimony of Defendants’ proffered expert, Mr. Daniel Chow under Fed. R.

Civ. P. 26(a)(2)(B)(ii) and Fed. R. Evid. 702.



   I.      Background of the Chow Report

        On February 7, 2022, Defendants first produced an expert report

(hereinafter “Chow Report”) written by Daniel Chow. Mr. Chow’s report

discusses two sources of data he analyzed, the System for Award

Management (referred to as SAM) and Federal Procurement Data Systems

(referred to as FPDS). The SAM database holds information for businesses

that have registered to work with the federal government. The FPDS is a

database of federal contracting information administered by the General

Services Administration. Notably, for reasons that will be explained later,

key paragraphs in the Chow Report failed to disclose the existence of a 50

variable file that was integral to Mr. Chow’s analysis and conclusions.

Instead, the Chow Report states:

        From the original raw datasets, I compiled a list of relevant
        variables from both SAM registrants’ data (7,466,447
        observations and 42 variables) and FPDS awards (5,104,224
        observations and 55 variables).

        SAM registrant data contains reported six-digit North American
        Industry Classification System (NAICS) codes and DUNS
        numbers [DUNS numbers come from the Dunn and Bradstreet
        data universal numbering system.]. Size standards were based
        on the parent company’s six-digit NAICS code as reported in the
        SAM database. Each company was designated as “small” in each
        industry if it was small in any of its corresponding six-digit



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      NAICS codes. Firms were designated “not small” if they were
      not flagged as small in their six-digit NAICS codes. As in the
      Rubinovitz study, industry-level comparisons were at the three-
      digit NAICS level. Unique observations for SAM registrants
      were identified by DUNS number and collapsed by three-digit
      NAICS code. A given DUNS number may have more than one
      NAICS code, indicating a firm may register in SAM to compete
      in one or more industries. Merging and removal of redundant
      and extraneous observations by DUNS number resulted in a
      combined file of 5,659,740 registration observations and 64
      variables.

Rosman Stmt. par. 1, Exhibit 1, Chow Report at 3.

      Plaintiff, after consulting with its own experts, requested Defendants

produce Mr. Chow’s data files so that Plaintiff’s expert, could reproduce and

evaluate Mr. Chow’s analysis. Rosman Stmt. par. 2. On February 24, 2022,

Defendants produced two of the files Mr. Chow used. Id. par. 3. One is

named “SAM_1904_2009_SB_D.dta” (7,466,447 obs and 42 variables),

and the other is “Awards_Combined_FY19FY20_SBNonSB.dta” (5,659,740

obs and 64 variables). Id. The “Awards_Combined” file contained the exact

same number of observations and variables as the last sentence quoted supra

in the excerpt from the Chow Report. Given the reference to it at the end of

the quoted excerpt, in a paragraph largely about SAM data, Plaintiff

assumed that the latter file was a combination of FPDS and SAM data, and

nothing in the Chow Report suggested otherwise.

      On March 10, 2022, Plaintiff deposed Mr. Chow. Rosman Stmt. par. 4.

In his deposition, Plaintiff asked Mr. Chow whether the 64 variable, 5.6

million observation file he referred to in his report is the combined FPDS-




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SAM file. Mr. Chow confirmed that it is. Rosman Stmt. par. 4, Exhibit 2,

Chow Dep. Tr. 60-61.

      On March 17, 2022, Mr. Chow’s deposition transcript became

available. Rosman Stmt. par. 5. After reviewing Mr. Chow’s deposition

transcript along with the two data files Defendants produced, Plaintiff’s

expert determined it would be impossible to replicate Mr. Chow’s analysis

with the files he had been given, and the information in Mr. Chow’s

deposition transcript. Guryan Stmt. par. 6. Accordingly, on March 23, 2022,

Plaintiff first orally requested the computer code used by Mr. Chow. Plaintiff

followed up with a written document request on March 25, 2022. Rosman

Stmt. par. 5.

      On March 30, 2022, Defendants responded by asking Plaintiff to

provide legal authority supporting their request for Mr. Chow’s code.

Rosman Stmt. par. 7.

      On April 4, 2022, Plaintiff produced its rebuttal expert report. Rosman

Stmt. par. 8. In his report, Plaintiff’s expert Dr. Jonathan Guryan identified

the 64 variable 5.6 million observation “Awards Combined” file as Mr. Chow’s

“analysis” file, as Mr. Chow had testified, combining the data from the SAM

and FPDS files. Guryan Stmt. par. 5.

      On or about April 20, 2022, Defendants agreed to provide the computer

code Mr. Chow used, subject to a confidentiality agreement. Rosman Stmt.

par. 9. On April 27, 2022, Defendants deposed Guryan. Rosman Stmt. par.




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10. On April 28, 2022, the parties jointly moved for a protective order

covering Mr. Chow’s code, and the Court entered the order on May 6, 2022.

Doc. Nos. 51, 54.

      On May 9, 2022, Defendants produced part of the Chow code. Rosman

Stmt. par. 11. The code refers to a file called

“FPDS_SAM_PPIRS_2019_2020_matching_Test4.” The code indicates that

this “matching file” is used to create the “finalize” file that Mr. Chow utilized

for his analysis to reach his conclusions. Guryan Stmt. par. 7. However, the

derivation of the “matching file” is not clear. Id.

      In reviewing Mr. Chow’s computer code, Dr. Guryan realized that, in

all other instances, the end result of one program is a file that is used at the

outset of the next program, sequentially. Guryan Stmt. par. 8. But the

program prior to the use of the “matching” file program does not end with the

“matching” file. Further, the “matching” file has a key variable – “winner” –

but there is no code showing how Mr. Chow created that variable or how it

was determined whether a given company was a “winner.” Id.

      On May 17, 2022, Defendants produced a “matching file,” named

“FPDS_SAM_PPIRS_2019_2020_matching_Test4.” (having 1,259,129 obs and

50 variables). Rosman Stmt. par. 12.

      On May 18, Defendants sent Plaintiff an errata sheet with an attached

declaration from Mr. Chow dated May 17, 2022. Rosman Stmt. par. 13. In

his declaration, Mr. Chow stated that he was “mistaken” in response to some




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of his answers to his deposition:

          6. As I describe in my report, I combined the two FPDS
          datasets and removed redundant and extraneous
          observations to create one file which contains 5,659,740
          registration observations and 64 variables. This file was
          labeled “Awards_Combined_FY19FY20_SBNonSB”

          7. I then merged the combined FPDS dataset with the
          SAM.gov dataset and collapsed, sorted, matched, and
          removed duplicates to create a file that contains 1,259,129
          observations and 50 variables. This file is labeled
          “FPDS_SAM_PPIRS_2019_2020_matching_Test4.”

Rosman Stmt. par. 13, Exhibit 3, Chow Decl. par. 6-7. These two statements

had not appeared, in any form, in Mr. Chow’s report. Mr. Chow did not

“describe in [his] report” that he “combined the two FPDS datasets” to create

the 64 variable, 5.6 million observation file. To the contrary, the reference to

that file appears at the end of a paragraph (quoted above) mostly about SAM

data, not FPDS data, and the sentence in question did not state that Mr.

Chow was combining two FPDS datasets. Moreover, Mr. Chow testified at

his deposition that the 64 variable, 5.6 million observation file was a

combined SAM-FPDS dataset. And there was no reference at all to any 50

variable, 1.2 million observation “matching” file in Mr. Chow’s report.

Rosman Stmt. par. 4; Chow Dep. Tr. 60-61.

      This new information was provided long after the initial report was

due, long after Plaintiff’s expert filed his report, and long after both experts

were deposed.     Moreover, his methodology still cannot be reproduced.




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         Mr. Chow’s declaration states that he “collapsed” duplicates to create

the “matching file.” Mr. Chow used STATA software, a very popular software

for statistical analysis. Guryan Stmt. par. 10. The term “collapse” in STATA

is a term of art that can mean a wide variety of different actions. Id.

Without knowing exactly what Mr. Chow did to “collapse” the data, it is

impossible to replicate his work. Id. And just as Mr. Chow’s report makes no

reference to a file that has 1,259,129 observations and 50 variables, it also

neglects to make any mention of “collapsing” data when combining the FPDS

and SAM data. Id. Indeed, neither fact was even mentioned until far too

late. Id.



   II.      Chow’s Expert Report Does Not Satisfy the Requirements of
            F.R. Civ. P. 26(a)(2)(B).

         Under Fed. R. Civ. P. 26(a)(2)(B), an expert’s report must contain, inter

alia, “a complete statement of all opinions the witness will express and the

basis and reasons for them” and “the facts or data considered by the witness

in forming them.” Mr. Chow’s report does not meet that standard, and

accordingly, it should be excluded.

         In R.C. Olmstead, Inc. v. CU Interface, LLC, 606 F.3d 262, 271-72 (6th

Cir. 2010), the Sixth Circuit affirmed the district court’s decision to exclude

the plaintiff’s expert because the expert report failed to comply with Rule

26(a)(2)(B). The court held that the expert’s report failed to meet the

requirement that it be a “complete statement of all opinions that the



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witnesses will express and the basis and reasons for them.” Id. at 270

(quoting Fed. R. Civ. P. 26(a)(2)(B)(i)). Instead, the expert only provided

“cursory support for his conclusion” that the software which was the subject

matter of the lawsuit was copied. Id. at 271. The court explained that

reading the expert’s report would leave the defendant “only slightly more

informed about the basis of [plaintiff's] argument” than defendant would

have been by reading the complaint.” Id. Here, calling Plaintiff “slightly

more informed” after reading Chow’s report would be quite charitable.

      The court in Olmstead explained that an expert report “must include

‘how’ and ‘why’ the expert reached a particular result, not merely the expert’s

conclusory opinions.” Id. (quoting Salgado v. Gen. Motors Corp., 150 F.3d

735, 742 n.6 (7th Cir. 1998)). The Court held that the expert report there

“plainly failed this hurdle” and exclusion was appropriate. Id.

      Here, Mr. Chow’s report, originally provided on February 7, 2022,

made no mention of a critical 50 variable file which was vital to his

conclusions and analysis. Without that file, Plaintiff and its experts were in

the dark as to how to evaluate the methods and means by which Mr. Chow

reached his conclusions. Further, not knowing that the 50 variable file even

existed, Plaintiff was not only unable to ask for it, Plaintiff was also unable to

question Mr. Chow about it during his deposition. And, even when

questioned during his deposition as to how the “combined file” was created,

Mr. Chow misleadingly referred to the 64 variable 5.6 million observation file




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that he subsequently claimed was just a file that combined two FPDS files.

He completely failed to mention any 50 variable “matching” file.

      Over a month later, Mr. Chow finally disclosed the existence of the 50

variable file. Yet to date, Mr. Chow did not disclose exactly how he

“collapsed” data when he created the 50 variable file. Accordingly, having not

mentioned that file at all in his report, Plaintiff was completely foreclosed

from being able to effectively question Mr. Chow during his deposition.

Without that information, Mr. Chow’s report cannot be evaluated.1 Likewise

Mr. Chow’s expert opinions. Accordingly, his testimony should be excluded.



   III.   Mr. Chow’s Report is Substantively Suspect and Does not
          Satisfy the Requirements of Federal Rule of Evidence 702.

      According to Daubert v. Merrell Dow, the trial court must make a

“preliminary assessment of whether the reasoning or methodology underlying

the testimony is scientifically valid and of whether that reasoning or

methodology properly can be applied to the facts in issue.” Daubert v. Merrell

Dow Pharms., Inc., 509 U.S. 579, 592-93 (1993). The party offering expert

testimony has the burden to prove its admissibility by a preponderance of the

evidence. Id. at 593 n.10 (citing Fed. R. Evid. 104(a) and Bourjaily v. United


1. Mr. Chow asserted in his “declaration errata” that his misstatements
during his deposition were because he did not have his datasets and
documents in front of him. Chow Decl. par. 10. Mr. Chow’s expert report was
marked as an exhibit at his deposition it was available to him to examine if
he was uncertain about any references in it. In any event, Mr. Chow’s
declaration does not explain the complete absence of any reference to a 50
variable 1.2 million observation file in his expert report.

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States, 483 U.S. 171, 175-176 (1987)). See also Pride v. BIC Corp., 218 F.3d

566, 578 (6th Cir. 2000); Goldman v. Healthcare Mgmt. Sys., 2008 U.S. Dist.

LEXIS 22304, *3 (W.D. Mich. March 11, 2008). This Court exercises a

gatekeeping role with respect to any proffered expert testimony, and must

insure that “any and all scientific testimony or evidence admitted is not only

relevant, but reliable.” Daubert, 509 U.S. at 589 (emphasis added). See also

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147-49 (1999) (the gatekeeper

function of trial judges applies to all expert testimony, regardless of whether

such testimony is based upon scientific, technical, or other specialized

knowledge.”); United States v. Mallory, 902 F.3d 584, 593 (6th Cir. 2018).

The court must “strike a balance between a liberal admissibility standard for

relevant evidence on the one hand and the need to exclude misleading junk

science on the other.” Best v. Lowe’s Home Ctrs., Inc., 563 F.3d 171, 176-77

(6th Cir. 2009).

      Daubert and Rule 702 likewise apply during the summary judgment

phase of litigation. If proffered expert testimony fails to meet the threshold

for admissibility, the court must exclude it from consideration in ruling upon

a motion for summary judgment. See Cortes-Irizarry v. Corporacion Insular

De Seguros, 111 F.3d 184, 188 (1st Cir. 1997); Cavallo v. Star Enter., 100 F.3d

1150, 1159 (4th Cir. 1996); Petizmeier v. Hennessy Indus., Inc., 97 F.3d 293,

297-99 (8th Cir. 1996); Claar v. Burlington N.R.R., 29 F.3d 499, 502-05 (9th




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Cir. 1994); Porter v. Whitehall Lab., Inc., 9 F.3d 607, 612, 616-17 (7th Cir.

1993).

         When determining the reliability of a proposed expert’s testimony, the

court must examine the soundness of the expert’s methodology, not the

correctness of his conclusions. See Daubert, 509 U.S. at 594-95 (the focus of

the Rule 702 inquiry “must be solely on principles and methodology, not on

the conclusions that they generate.”). Mr. Chow purports to consider whether

the data show differences in the odds of contracts being won by minority-

owned small businesses (especially those identified as SDBs) and those

participating in the 8(a) program, compared to other small businesses. Chow

Report at 7. However, Mr. Chow’s methodology is flawed in at least two

ways: Mr. Chow did not consider bidding data and how differences in bidding

activity among different groups of business owners could affect their odds of

winning contract awards, and Mr. Chow analyzed the likelihood of “minority

owned” businesses to win contract awards, yet failed to separate out

individual minority groups.

         A.    Chow’s analysis failed to consider the effects of
               differences in bidding behavior.

         One of Mr. Chow’s underlying assumptions is that in the absence of

discrimination, all of the businesses in the database would be equally likely

to be awarded contracts. Yet the data on which Mr. Chow bases his analyses

does not include any information about which businesses actually bid on

contracts (or how often) or any information about individual bids. The SAM



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database contains a list of businesses that have registered with SAM, yet it

makes no distinction between those businesses that bid on federal contracts

(or those that submit bids often) and those that have never bid. Businesses

that have never bid on a federal contract, or bid rarely, would necessarily be

less likely to be awarded contracts than businesses that regularly bid on

federal contracts.

      Similarly, even for those firms that do bid on contracts, Mr. Chow’s

data contains no information about bids. Therefore, any differences in the

types or details of bids that various businesses submit was not (and could not

be) accounted for in Mr. Chow’s analysis.

      At his deposition, Mr. Chow admitted that the vitally important

variable of the number of bids each business submitted (which was omitted)

could explain the differences he observes:

      Q: Okay. And if I understand the analysis correctly, one variable
      that was not used was failure to bid, right?

      A (Mr. Chow): Correct, I have nothing in here about bidding.

      Q: Okay. And so some of these odds might be attributable to the
      fact that different groups bid less often or more often?

      A: Might be attributable, yes.

      Q: Okay. There’s nothing in your analysis that would eliminate
      that possibility; is that right?

      A: Correct.

Rosman Stmt. par. 4, Exhibit 2, Chow Dep. Tr. 98-99. Mr. Chow

agrees that his analysis does not account for at least one non-



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discriminatory reason (number of bids) for the disparities he observes.

Accordingly, without accounting for all possible nondiscriminatory

factors, it is not possible to conclude that the disparities were caused

by discrimination.

      B.     Chow’s analysis failed to separate out individual
             minority groups and women.

      Mr. Chow’s analysis likewise fails to break down groups by individual

race or national origin. So, even if one assumes arguendo that the disparities

he found reflect some type of discrimination, there is no way to tell the extent

to which that discrimination occurred against any particular race or national

origin group. The broad character of this type of evidence fails to satisfy

strict scrutiny. See Richmond v. J. A. Croson Co., 488 U.S. 469, 506 (U.S.

1989) (“If a 30% set-aside was ‘narrowly tailored’ to compensate black

contractors for past discrimination, one may legitimately ask why they are

forced to share this ‘remedial relief’ with an Aleut citizen who moves to

Richmond tomorrow? The gross overinclusiveness of Richmond’s racial

preference strongly impugns the city’s claim of remedial motivation.”). See

also Wygant v. Board of Education, 476 U.S. 267, 284 n. 13 (1986) (the

haphazard inclusion of racial groups “further illustrates the undifferentiated

nature of the plan”); Kornhass Constr., Inc. v. Okla., Dep’t. of Cent. Serv., 140

F. Supp. 2d 1232, 1247 (W.D. Okla. 2001) (“the Act broadly extends its

bidding preference to several racial minority groups, ie., African Americans,

Hispanics, Asian Americans, American Indians and Alaskan Natives, without



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regard to whether each of those groups has suffered from the effects of past or

present racial discrimination”).



   IV.      Conclusion

         For the foregoing reasons, Plaintiff respectfully requests this Court

exclude the testimony of Daniel Chow.




                                   Respectfully submitted,

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